     Case 2:03-cr-00350-RFB-PAL          Document 1061         Filed 03/07/06     Page 1 of 2




 1

 2

 3

 4

 5

 6                                  UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8                                                  ***

 9   UNITED STATES OF AMERICA,                      )
                                                    )
10                     Plaintiff,                   )        02:03-CR-00350-LRH (LRL)
                                                    )
11   v.                                             )
                                                    )        ORDER
12   COURTNEY JONES,                                )
                                                    )
13                     Defendant.                   )
                                                    )
14

15          Presently before the court is the Government’s Motion to Dismiss (Docket No. 948).

16   Courtney Jones (“Jones”) has filed an opposition (Docket No. 963). No reply was filed.

17          Jones filed a motion pursuant to 28 U.S.C. § 2255 on August 31, 2005 (Docket No. 883).

18   The Government is seeking to dismiss this motion due to the fact that Jones filed an appeal with

19   the Ninth Circuit Court of Appeals. Jones’s appeal is seeking relief from this court’s order denying

20   his request for an out-of-time appeal. Jones argues that his 2255 motion should not be dismissed

21   because he has essentially abandoned his appeal and because any possible disposition on appeal

22   would not have any effect on this action.

23          A district court should not entertain a section 2255 motion while there is an appeal pending

24   because the disposition of the appeal could render the habeas corpus writ unnecessary. Feldman v.

25   Henman, 815 F.2d 1318, 1320 (9th Cir. 1987). Since the filing of the Government’s motion, the

26   Ninth Circuit has dismissed Jones’s appeal (Docket No. 1032). Therefore, the Government’s
     Case 2:03-cr-00350-RFB-PAL         Document 1061        Filed 03/07/06     Page 2 of 2




 1   motion will be denied.

 2          IT IS THEREFORE ORDERED that the Government’s Motion to Dismiss (Docket No.

 3   948) is hereby DENIED. The Government shall have thirty (30) days from the entry of this order

 4   in which to respond to Jones’s motion filed pursuant to 28 U.S.C. § 2255 (Docket No. 883).

 5          IT IS SO ORDERED.

 6          DATED this 6th day of March, 2006.

 7

 8
                                                    __________________________________
 9                                                  LARRY R. HICKS
                                                    UNITED STATES DISTRICT JUDGE
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                     2
